               Case 22-20823-GLT                  Doc 62        Filed 07/06/22 Entered 07/06/22 00:12:50                               Desc Main
      Fill in this information to identify the case:            Document     Page 1 of 4

      Debtor
                      U Lock Inc
                      __________________________________________________________________

                                              Western District of Pennsylvania
      United States Bankruptcy Court for the: ________________________________

      Case number      22-20823
                       ___________________________________________
      (If known)

                                                                                                                                         Check if this is an
                                                                                                                                            amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                        12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :         List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
      
      ✔ No. Go to Part 2.

       Yes. Go to line 2.
 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
       3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim                 Priority amount
2.1 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________    $_________________
                                                               Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account                                 Is the claim subject to offset?
      number      _______________________                       No
                                                                Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) (_____)
      Priority creditor’s name and mailing address
2.2                                                            As of the petition filing date, the claim is: $______________________    $_________________
                                                               Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)

2.3 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________    $_________________
                                                               Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)



  Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                4
                                                                                                                                             page 1 of ___
             Case  22-20823-GLT
               U Lock Inc                     Doc 62        Filed 07/06/22 Entered 07/06/22 00:12:50    22-20823 Desc Main
  Debtor        _______________________________________________________
                Name                                        Document     Page 2 of Case
                                                                                    4 number (if known)_____________________________________
 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                               Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Christine Biros                                                                                                           325,000.00
                                                                                                                            $________________________________
                                                                            Contingent
    435 Millers Road                                                        Unliquidated
    Pittsburgh, PA, 15239                                                  
                                                                           ✔
                                                                             Disputed
                                                                                                   Monies Loaned / Advanced
                                                                           Basis for the claim:



    Date or dates debt was incurred            07/09/2015
                                               ___________________          Is the claim subject to offset?

    Last 4 digits of account number            9999
                                               ___________________         
                                                                           ✔ No
                                                                            Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Christine Biros                                                        Check all that apply.                              Unknown
                                                                                                                            $________________________________
    435 Millers Road                                                        Contingent
    Pittsburgh, PA, 15239                                                   Unliquidated
                                                                           
                                                                           ✔ Disputed

                                                                           Basis for the claim:
                                                                                                   Claims she is owed attorney fees.


    Date or dates debt was incurred            01/01/2021
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔ No
    Last 4 digits of account number            9999
                                               __________________           Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    JAR Coal Company                                                                                                          325,000.00
                                                                                                                            $________________________________
                                                                            Contingent
    1985 Lincoln Way                                                        Unliquidated
    STE 23-333                                                             
                                                                           ✔ Disputed
    White Oak, PA
                                                                           Basis for the claim:
                                                                                                   Based on information, JAR Coal Company, an unincorporated associatio

    Date or dates debt was incurred            07/09/2015
                                               ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            9999
                                               __________________          
                                                                           ✔ No

                                                                            Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    PA Turnpike Toll by Plate                                              Check all that apply.
                                                                                                                              16.90
                                                                                                                            $________________________________
    PO Box 645631                                                           Contingent
    Irwin, PA, 15642                                                        Unliquidated
                                                                            Disputed
                                                                            Basis for the claim:


    Date or dates debt was incurred            09/27/2021
                                               ___________________         Is the claim subject to offset?

    Last 4 digits of account number            0615
                                               __________________          
                                                                           ✔
                                                                             No
                                                                            Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Shanni Snyder and/or Trustee of the Shanni                                                                                262,000.00
                                                                                                                            $________________________________
                                                                           Check all that apply.
    Snyder Bankruptcy Estate                                                Contingent
    14390 Route 30                                                          Unliquidated
    Irwin, PA, 15642                                                        Disputed
                                                                           Basis for the claim:

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            9999
                                               __________________          
                                                                           ✔ No
                                                                            Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    West Penn Power                                                                                                           43.73
                                                                                                                            $________________________________
                                                                           Check all that apply.
    76 South Main Street                                                    Contingent
    Akron, OH, 44308                                                        Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:    Utility Services

    Date or dates debt was incurred            ___________________
                                               04/21/2022                  Is the claim subject to offset?
    Last 4 digits of account number            ___________________
                                               0618                        
                                                                           ✔
                                                                             No
                                                                            Yes

    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                               page __    4
                                                                                                                                                        2 of ___
            Case  22-20823-GLT
              U Lock Inc                   Doc 62       Filed 07/06/22 Entered 07/06/22 00:12:50    22-20823 Desc Main
  Debtor       _______________________________________________________
               Name                                     Document     Page 3 of Case
                                                                                4 number (if known)_____________________________________
Pa rt 2 :   Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             Undetermined
                                                                                                                    $________________________________
 Westmoreland County Tax Claim Bureau                                Contingent
 2 North Main Street                                                 Unliquidated
 Ste 109                                                            
                                                                    ✔ Disputed
 Greensburg, PA, 15601
                                                                    Basis for the claim: Property Taxes



                                                                    Is the claim subject to offset?
     Date or dates debt was incurred          12/31/2021
                                             ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
     Last 4 digits of account number         ___________________

3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                     Contingent
                                                                     Unliquidated
                                                                     Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
     Last 4 digits of account number         ___________________
                                                                     No
                                                                     Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                     Contingent
                                                                     Unliquidated
                                                                     Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
     Last 4 digits of account number         __________________      No
                                                                     Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                     Contingent
                                                                     Unliquidated
                                                                     Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___________________     Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                     Contingent
                                                                     Unliquidated
                                                                     Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___________________     Yes



    Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                      4
                                                                                                                                                3 of ___
                                                                                                                                           page __
            Case  22-20823-GLT
              U Lock Inc                   Doc 62      Filed 07/06/22 Entered 07/06/22 00:12:50     22-20823 Desc Main
 Debtor        _______________________________________________________
               Name                                    Document     Page 4 of Case
                                                                               4 number (if known)_____________________________________
Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                         Total of claim amounts



5a. Total claims from Part 1                                                                  5a.
                                                                                                           0.00
                                                                                                         $_____________________________




5b. Total claims from Part 2                                                                  5b.   +      912,060.63
                                                                                                         $_____________________________




5c. Total of Parts 1 and 2                                                                                 912,060.63
                                                                                              5c.        $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                  page __    4
                                                                                                                                       4 of ___
